              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                   CASE NO. 1:14-CR-58-MR-DSC-1


UNITED STATES OF AMERICA         )
                                 )
         vs.                     )            MEMORANDUM
                                 )          OPINION AND ORDER
JEFFREY SCOTT BLACK              )
________________________________ )


     THIS MATTER is before the Court for resolution of the Defendant’s

Motion to Suppress [Doc. 66], and the Defendant’s Objections [Doc. 76] to

the Magistrate Judge’s Memorandum and Recommendation (“M&R”).

[Doc. 75]. For the reasons that follow, this Court will accept the Magistrate

Judge’s recommendations with modifications described herein and will

deny the Defendant’s suppression motion in full.

                     PROCEDURAL BACKGROUND

     On August 5, 2014, the Defendant Jeffrey Scott Black and four other

men were named in a Bill of Indictment filed with the Court. The grand jury

charged the five men with various offenses regarding heroin, a Schedule I

controlled substance, in violation of 21 U.S.C. §§ 841 and 846, and 18

U.S.C. § 2. [Doc. 1 at 1-5]. The grand jury also found probable cause to




   Case 1:14-cr-00058-MR-WCM     Document 84   Filed 12/23/14   Page 1 of 8
believe that Black illegally possessed firearms and charged him with

offenses under 18 U.S.C. §§ 922 and 924. [Id. at 6].

     On October 11, 2014, Black filed a motion to suppress. [Doc. 66].

The Government filed its Response to the Defendant’s motion on

November 5, 2014. [Doc. 73]. On November 19, 2014, Magistrate Judge

Cayer issued his M&R. [Doc. 75]. He recommended that the Court deny

the Defendant’s suppression motion. [Id. at 9].        The Magistrate Judge

informed the Defendant he could file any objections to the M&R within

fourteen days’ of service thereof.     [Id.].   Black filed his objections on

December 6, 2014. [Doc. 76]. The Defendant’s Motion to Suppress and

Objections to the M&R are now ripe for the Court’s consideration.

                        STANDARD OF REVIEW

     Since the Defendant has raised various objections to the Magistrate

Judge's Memorandum and Recommendation, the Court will review the

Magistrate Judge's proposed findings and conclusions de novo. 28 U.S.C.

§ 636(b)(1); Fed.R.Crim.P. 59(b)(3).

                          FACTUAL SUMMARY

     The detailed factual background of this case is straight forward and is

set forth in the M&R.    Therefore, it will not be reproduced here.         The

Defendant raises one factual objection which will be addressed below.

                                       2
   Case 1:14-cr-00058-MR-WCM    Document 84      Filed 12/23/14   Page 2 of 8
                         FACTUAL OBJECTION

     The Defendant objected to the M&R’s factual recitation set forth on

page 5 and the first sentence of page 6. [Doc. 76 at 1]. These facts flow

directly from the Government’s Response and describe what the

Government contends occurred at, and immediately following, the time the

search warrant was executed. [Doc. 73 at 5-7]. Black asserts that the

Magistrate Judge erred in including these facts for want of verification.

Because the only facts supported by oath or affirmation before the Court

are contained within the search warrant application, and because the

Magistrate Judge did not conduct an evidentiary hearing to take sworn

testimony before issuing his M&R, the Court will accept the Defendant’s

factual objection. Notwithstanding the Court’s acceptance of Black’s factual

objection, the excision of page 5 and the first sentence of page 6 from the

M&R would have no effect upon the legal determinations at issue in this

case. Consequently, the Court will adopt the Magistrate Judge’s factual

findings as set forth in his M&R except as noted above.

                           LEGAL OBJECTION

     The Defendant’s suppression motion raised two legal issues: (1) the

search warrant was based upon an insufficient factual foundation, and (2)

the factual information provided to establish probable cause for a search

                                     3
   Case 1:14-cr-00058-MR-WCM    Document 84    Filed 12/23/14   Page 3 of 8
was stale. [Doc. 66 at 3; 4]. The Magistrate Judge addressed in the M&R

the Defendant’s assertion that the search warrant was based upon an

insufficient factual foundation. The Defendant thereafter conceded the

soundness of the Magistrate Judge’s legal analysis rejecting his argument

on this first issue.

      Regarding the Magistrate Judge’s legal analysis, Mr. Black
      does not object to that court’s recitation of the applicable law.
      [M & R, at pp. 6-7]. Further, Mr. Black agrees with the
      Magistrate Judge that the relevant question is whether law
      enforcement provided the court with sufficient information to
      provide probable cause to believe that Mr. Black’s house would
      contain evidence of the commission of a crime relating to the
      possession, manufacture, sale or distribution of a controlled
      substance. [M & R, at p. 7].

[Doc. 76 at 2]. The Defendant objects, however, to the absence in the

M&R of any analysis regarding his second contention that the factual

information provided to establish probable cause for the search was stale.

      Mr. Black must, however, object to that court’s mischar-
      acterization of his argument that probable cause to believe a
      person sold an illegal substance ten days earlier is sufficient
      itself to establish probable cause to believe that his house
      would contain evidence of that or any other sale ten days later.

[Id.]. The Court will address the Defendant’s “staleness” objection below.

                                DISCUSSION

      The Fourth Amendment to the United States Constitution provides:

      The right of the people to be secure in their persons, houses,
      papers, and effects, against unreasonable searches and
                                     4
    Case 1:14-cr-00058-MR-WCM    Document 84   Filed 12/23/14   Page 4 of 8
     seizures, shall not be violated, and no warrants shall issue but
     upon probable cause, supported by oath or affirmation and
     particularly describing the place to be searched and the
     persons or things to be seized.

U.S. Const. amend. IV.

     Pursuant to the exclusionary rule, “evidence obtained in violation of

the Fourth Amendment cannot be used in a criminal proceeding against the

victim of the illegal search and seizure.” United States v. Calandra, 414

U.S. 338, 347 (1974). Further, on the issue of “staleness” as it impacts the

potential suppression of evidence,

     [t]he fourth amendment bars search warrants issued on less
     than probable cause, and there is no question that time is a
     crucial element of probable cause. A valid search warrant may
     issue only upon allegations of facts so closely related to the
     time of the issue of the warrant as to justify a finding of
     probable cause at that time. Whether the proof meets this test
     must be determined by the circumstances of each case.

United States v. McCall, 740 F.2d 1331, 1335-36 (4th Cir. 1984), citing,

Sgro v. United States, 287 U.S. 206, 210–11 (1932). In McCall, the Fourth

Circuit identified the two contexts within which staleness becomes an issue.

The first occurs when the facts alleged in the warrant may have been

sufficient to establish probable cause when the warrant was issued, but the

Government's delay in executing the warrant tainted the search. 740 F.2d

1336. The second occurs when the warrant itself is suspect because the

information on which it rested was arguably too old to furnish “present”
                                     5
   Case 1:14-cr-00058-MR-WCM    Document 84    Filed 12/23/14   Page 5 of 8
probable cause. Id.      It is this second circumstance that Black asserts

requires suppression of the evidence seized against him.

      While it is true that no bright line exists beyond which information

leading to probable cause becomes stale, “the vitality of probable cause

cannot be quantified by simply counting the number of days between the

occurrence of the facts supplied and the issuance of the affidavit.” United

States v. Rhynes, 196 F.3d 207, 234 (4th Cir. 1999). Rather, courts must

look to all the facts and circumstances of the case, “including the nature of

the unlawful activity alleged, the length of the activity, and the nature of the

property to be seized.” Id.     All of the circumstances in this matter point

toward a finding of probable cause.

      Taking these factors in reverse order, the “nature of the property to

be seized,” pursuant to the warrant, was evidence of drug trafficking.

Specifically, the search warrant was obtained to seize evidence of the

“commission of the crimes of possession, manufacturing, sales and

distribution of controlled substances and a conspiracy to commit those

offenses,” and the fruits of such crimes. [Doc. 73-1 at 4]. The expiration of

ten days’ time would reasonably be expected not to not diminish, in any

substantial way, evidence surrounding Black’s alleged drug trafficking

activity, especially since the Defendant’s accomplices were not local, daily

                                       6
    Case 1:14-cr-00058-MR-WCM     Document 84    Filed 12/23/14   Page 6 of 8
recipients of his drugs.     This conclusion is borne out as well by an

examination of the second and third factors.

     According to the confidential sources working with law enforcement

officers, and corroborated by the activities of Black’s co-defendants, the

officers actually witnessed “the length of the activity,” the second factor.

The officers documented undercover purchases and four trips by co-

defendants from Asheville to Black’s house in Charlotte to obtain heroin

from March, 2014, to April, 2014. The officers observed co-defendant

Monroe meet with the Defendant during three of these trips, observing him

and the Defendant drive to the Defendant’s house together, enter the

Defendant’s house together, and exit the Defendant’s house together.

Monroe confirmed for the officers – through a confidential source – that

during multiple trips to Charlotte he purchased heroin, which information

was ultimately confirmed on the last trip when his vehicle was stopped and

approximately three ounces of heroin was seized.          All of these facts

support a probable cause finding to believe that “the nature of the illegal

activity” (the third factor) involving Black was drug trafficking, and that

evidence of his ongoing and continuous alleged narcotics operations would

be present in his home, certainly within the time frame the officers obtained

and executed the warrant. For these reasons, the Court concludes there

                                     7
   Case 1:14-cr-00058-MR-WCM     Document 84   Filed 12/23/14   Page 7 of 8
was a substantial basis for finding that the factual information provided to

establish probable cause for issuance of the search warrant was not stale.

                               CONCLUSION

     Based upon the Court’s de novo review of this matter, and for the

reasons stated, the Court determines that the Magistrate Judge’s proposed

findings, as modified, are accepted as set forth herein by the Court. The

Court accepts the Magistrate Judge’s legal conclusion that the search

warrant was based upon a sufficient factual foundation. The Court further

concludes that the factual information provided to establish probable cause

for a search was not stale and the warrant, therefore, was valid.

                                  ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s Objections

[Doc. 76] to the Magistrate Judge’s M&R [Doc. 75] are ACCEPTED in part

and REJECTED in part.

     IT IS FURTHER ORDERED that the Defendant’s Motion to Suppress

[Doc. 66] is DENIED.

     IT IS SO ORDERED.
                                 Signed: December 23, 2014




                                       8
   Case 1:14-cr-00058-MR-WCM     Document 84        Filed 12/23/14   Page 8 of 8
